Case 2:05-cr-20176-.]DB Document 14 Filed 08/01/05 Page 1 of 2 Page|D 16

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||\l THE UNITED STATES D|STFI|CT COURT _
FOFt THE WESTEFlN DlSTR|CT OF TENNESSEE " l Fr"'% §2= 31
WESTERN D|V|S|ON

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uNiTEo sTATEs oF AMEnicA
P|aintiff

VS.
CR. NO. 05-20176-B

CURT|S W|l_LIAI\/IS,

Defendant.

 

ORDER ON CONTINUANCE AND SPEC|FY|NG PEFt|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance ot the August 1, 2005 trial date in order to allow for

additional preparation in the case.
The Court granted the request and reset the trial date to October 3, 2005 with a

report date of llllonday, September 26. 2005. at 9:30 a.m., in Courtroom 1. ttth F|oor
ot the Federa| Building, Ntemphis, TN.

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional

time to prepare outweigh the need for a spe dy tria|.
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|T |S SO OFtDEFtED this ( day w 2005.

J. ANlEL BREEN \
uN ED sTATEs olsTRlcT JUDGE

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for 32(13) FHCFP U“ -»--'*'_'_'_'_‘_'“_

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-20176 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

